                   THE THIRTEENTH COURT OF APPEALS

                                    13-15-00498-CV


                  Osvaldo Garcia, Individually and d/b/a Club Anarchy
                                           v.
                                    Thomas Tester


                                   On appeal from the
                    357th District Court of Cameron County, Texas
                          Trial Cause No. 2015-DCL-2417-E


                                      JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the judgment of the trial court should be affirmed in part and reversed

in part, and the case should be remanded to the trial court. The Court orders the

judgment of the trial court AFFIRMED IN PART and REVERSED IN PART, and the

case is REMANDED for further proceedings consistent with its opinion. Costs of the

appeal are adjudged 50% against appellant and 50% against appellee.

      We further order this decision certified below for observance.

September 1, 2016
